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         In the United States Court of Federal Claims
       * * * * * * * * * * * * * * * * **
  PERNIX SUKUT PACIFIC, LLC, and                       *
  SECURE CONSTRUCTORS SERVICES,                        *
  LLC/CB&I FEDERAL SERVICES LLC,                       *
                                                       *
                                                       *
                                                           Nos. 16-750C, 16-806C
                       Protestors,                     *
                                                           Filed: July 22, 2016
                                                       *
  v.                                                   *
  UNITED STATES,                                       *
                                                       *
                       Defendant.                      *
       * * * * * * * * * * * * * * * * **

                                            ORDER

       The court is in receipt of the defendant’s July 22, 2016, consent motion to dismiss
the above-captioned protests. As discussed at a status conference with the parties on
July 21, 2016, the court GRANTS defendant’s consent motion to dismiss the two above-
captioned protests, Case No. 16-750C and Case No. 16-806C. Therefore, the claims in
the above-captioned protests are, hereby, DISMISSED, without prejudice, with each party
to bear its own costs and fees. The Clerk’s Office shall enter JUDGMENT consistent with
this Order.

        If, after the corrective action, either protestor files suit again in this court, the Clerk’s
Office shall assign the protests to the undersigned and waive the filing fee for the above-
named protestors. Any such protest shall reference on the front of the new protest that it
is related to either of the above-captioned bid protests, Case No. 16-750C, or Case No.
16-806C, and the undersigned’s name.


       IT IS SO ORDERED.
                                                              s/Marian Blank Horn
                                                              MARIAN BLANK HORN
                                                                       Judge
